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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


THE REPORTERS COMMITTEE FOR
FREEDOM OF THE PRESS,
1156 15th Street NW, Suite 1250
Washington, D.C. 20005

                      Plaintiff,

v.                                                          Civil Action No. 1:17-cv-01701

FEDERAL BUREAU OF INVESTIGATION,
935 Pennsylvania Avenue, NW
Washington, D.C. 20535

and

UNITED STATES DEPARTMENT
OF JUSTICE
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530

                      Defendants.



                          NOTICE OF FILING OF PROOF OF SERVICE

       Plaintiff respectfully submits the attached Affidavit of Mailing and attachments as proof

that service of process has been effected on the U.S. Attorney for the District of Columbia in the

above-captioned matter.

Dated: August 29, 2017

                                                     Respectfully submitted,

                                                     /s/ Katie Townsend
                                                     Katie Townsend
                                                     D.C. Bar No. 1026115
                                                     THE REPORTERS COMMITTEE
                                                     FOR FREEDOM OF THE PRESS
                                                     1156 15th Street N.W., Suite 1250
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                                Tel: (202) 795-9300
                                Counsel for Plaintiff
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